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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  __________________________________/

                                              ORDER

         THIS CAUSE is before the Court upon the parties Joint Motion for a 30-Day Extension

  of All Discovery and Case Deadlines, and Trial Setting, ECF No. [284], filed on September 17,

  2019 (“Motion”). In the Motion, the parties represent that they have reached a settlement in

  principle and require an additional 30-days to finalize all relevant terms. The Court has reviewed

  the Motion, the record, and is otherwise fully advised.

         Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [284], is

  GRANTED in part and DENIED in part. The Court’s Scheduling Order, ECF No. [149], is

  AMENDED as follows:

   December 5, 2019       Parties disclose experts and exchange expert witness summaries or
                          reports.

   December 19, 2019      Parties exchange rebuttal expert witness summaries or reports.

   January 3, 2020        All discovery, including expert discovery, is completed.

   January 17, 2020       All pre-trial motions, motions in limine, and Daubert motions (which
                          include motions to strike experts) are filed. This deadline includes all
                          dispositive motions. Each party is limited to filing one motion in limine
                          and one Daubert motion. If all evidentiary issues cannot be addressed in
                          a 20-page memorandum, leave to exceed the page limit will be granted.
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                           The parties are reminded that motions in limine must contain the
                           Local Rule 7.1(a)(3) certification.

          All other provisions in the Scheduling Order, ECF No. [149], not amended in this Order,

  shall remain in full effect.

          Plaintiffs’ Motion for Attorneys’ Fees shall be due no later than October 20, 2019 and

  Defendant’s Opposition to Judge Reinhart’s Sanctions Order, ECF No. [277], shall be due no

  later than October 24, 2019.

          DONE AND ORDERED in Chambers at Miami, Florida, on September 17, 2019.




                                                     ____________________________________
                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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